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GENERAL DELIVERY
135 CATOMA STREET

MONTGOMERY, ALABAMA 36104 RECEIVED

IN THE UNITED STATES DISTRICT (COURT APR 12 2019

FOR THE ‘pisfRict oF ALASKA.
CLERK, U.S. DISTRICT COURT
ANCHORAGE, AK.
BILL LIETZKE, )CASE Wo. Se
° )
PLAINTIFF, JUNLAWFUL ARREST, FALSE IMPRISONMENT,
. JHARASSMENT, CIVIL RIGHTS VIOLATIONS

VS. }:
" )
GREYHOUND LINES, InC., yu tote,
> . .
BEPFERDANTS.. }

I. Jurisdiction founded or the existence ef a federal question and

amount in controversy.

2. The action arises under the Comstitution of the United States,

Article III, Section II, as hereinafter more fully appears,

3. The amount in controversy exceeds, exclusive of interests and
costs, the sum of $1,000,000,000.00

4. Civil rights violations cases Bill Lietzke vs.. ‘Greyhound Lines ,= Inc
Bill Lietzke. vs, -City- of Biymingham,: Et-AtL, Ratrick D.. Smith, Chief, and Bill
Lietzke vs, City of Montgomery ET. Al »Keyin Murphy,- filed under Title 28,
U. S$. Cw, Section 1331, Federal: Question Jurisdiction, and Title 42, U. Ss.
C., Section 1983, Civil Rights Cases,

3. On or about April 20, 2018, at about 5:30p.m., at the Birminghan,
Alabama Greyhound Lines, Inc,last known addresses Morris Avenue at Ist
Avenue North, Greyhound Lines, Incfalsely imprisoned, assaulted, violated
the civil rights of, and committed the unlawful violation of the personal
liberty of Greyhound passenger and Plaintiff Bill Lietzke for any appreciab
time however brief when the Plaintiff, travelling by Greyhound Lines, Inc,
from Los Angeles, California, Las Vegas, Nevada, through Colorado, Kansas,

Missouri, and coming back to Louisville, Kentueky and Nashville, Tennessee

reached the Birmiugham, Alabama Greyhound Lines, Inc., last known addresses

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Mrrris Avenue at Ist Avanue Morth, Birmingham, Alabama on April 20, 2018,
Defendants Greyhound Lines, Inc, committed said nmon~-consentual, intentional
coufinement of the Plaintiff without Lawful privilege therefor and for any
appreciable time however brief in the Birmingham City Jail from April 20,
2018 to April 21, 2018. Defendants Greyhound Lines, Inc,., Last known
addresses Morris Avenue at Ist Avenue North, Birmingham, Alabama purposely
deprived the Plaintiff of freedom of movement by use of physical barrier
and force and other total and complete unreasonable duress without the
Plaintiff's consent which harmed the Plaintiff, and such harm was
substantially caused by the Defendants" conduct.

6. Thereafter, the Plaintiff was released from the Birmingham City Jai
last known addresses 425 6th Avenue South, Birmingham, Alabama on the bond
of $300.00 on April 21, 2018.

7. On or about April 20, 2018, at about 5:30p.m., Defendants Greyhounc
Lines, Inc. last known addresses Morris Avenue at Ist Avenue North,
Birmingham, Alabama struck, shoved, kicked, and touched the Plaintiff and
subjected the Plaintiff to unlawful arrest, false imprisonment, harassment,

and civil rights violations.

8. Thereafter, the Plaintiff was released from the Birmingham City Jai

last known addresses 425 6th Avenue South, Birmingham, Alabama on the bond

of $300.00 on April 21, 2018.
9, The Plaintiff purchased his legitimate and legal Greyhoud bus ticke

and itinerary at Los Angeles, California on or about April 16, 2018 to

travel from Los Angeles, California to Mentgomery, Alabama. The St. Louis,

Missouri Greyhound Lines, Inc. intercepted and stole the Plaintiff's Los
Augeles, California bus tickets and itinerary for unexplainable and

suspicious reasons.

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Lo. Defendants Greyhound Lines, Inc. failed in their eCbligation to
transport the Plaintiff safely to Montgomery, Alabama, instead, assaulted,
taunted, bullied, and subjected the Plaintiff to unlawful arrest, false
imprisonment, and civil rights violations on baseless and frivolous charges
The Défendants violated the Plaintiff's First Amendment and fourth Amendmen

rights of the United States Constitution,

ll, The Plaintiff purchased legitimate and legal Greyhound bus ticket

and itinerary at San Francisco, California in February, 2012. The St.

Louis, Missouri Greyhound Limes, Inc. interceptedzand stole the Plaintiff's
San Francisco, California bus tickets and itinerary for unexplainable and
suspicious reasons.

WHEREFORE, the Plaintiff demands judgment against all Defendants for

Punitive Damages, Actual Damages, Compensatory Damages, and Irreparable

Damages, of $2,000,000,000.00

Submitting for filing April 8, 2019

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Gen@ral Delivery, 133° Catoma St,

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